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                                 Nos. 23-2971, 23-2972
_____________________________________________________________________________________________

                    UNITED STATES COURT OF APPEALS
                         FOR THE THIRD CIRCUIT

                         IN RE: LTL MANAGEMENT LLC,
                                     Debtor.
     ___________________________________________________________________________________

                     LTL MANAGEMENT LLC AND
           THE AD HOC COMMITTEE OF SUPPORTING COUNSEL,
                            Appellants,
                                             v.
         THE OFFICIAL COMMITTEE OF TALC CLAIMANTS, et al.,
                            Appellees.

    On Appeal from the U.S. Bankruptcy Court for the District of New Jersey,
                               No. 23-12825

   JOINT MOTION OF LTL MANAGEMENT LLC AND THE AD HOC
  COMMITTEE OF SUPPORTING COUNSEL REGARDING BRIEFING
     SCHEDULE, ORAL ARGUMENT, AND NOVEMBER 9 ORDER

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        LTL Management LLC and the Ad Hoc Committee of Supporting Counsel

(together, “Appellants”) raise three issues by this motion: (I) The briefing schedule;

(II) oral argument; and (III) the Court’s November 9 Order regarding stipulated facts

and procedural history. The positions of the Official Committee of Talc Claimants

(the “Official Committee”) and certain other Appellees on each issue are described

below.

I.      BRIEFING SCHEDULE

        Under Federal Rule of Appellate Procedure 26, Appellants respectfully

request that the Court set the following briefing deadlines in these consolidated

appeals:

     • All appellants shall file their opening brief(s) by December 13.

     • All appellees shall file their response brief(s) within 44 days of the filing of

        opening brief(s).

     • All appellants shall file their reply brief(s) within 21 days of the filing of the

        response brief(s).

        The Official Committee joins Appellants’ motion to set the above schedule. 1




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        Appellees Kate Tollefson (represented by Maune Raichle Hartley French & Mudd), Paul
Crouch (represented by Jonathan Ruckdeschel), and Giovanni Sosa (represented by Cooney &
Conway), consent to the Official Committee’s position on all three matters addressed in this
motion.

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II.    ORAL ARGUMENT

       Under Local Rule 34.1, in light of the similarity of facts and issues presented

to those addressed by this court in In re LTL Management, LLC, 64 F.4th 84 (3d Cir.

2023), Appellants waive oral argument and respectfully request that the Court decide

these appeals on the briefs.

       The Official Committee believes this is an important case that could be aided

by oral argument, although it defers to the Court’s discretion. That discretion may

be informed by the Court’s review of the parties’ briefs, once they are filed. The

Official Committee notes that this Court’s Order of November 9, 2023, stated that

“[t]he above-entitled case has been listed at the convenience to the Court and will be

scheduled after briefing has been completed. At the time that the Court schedules a

disposition date, the panel will determine whether there will be oral argument and if

so, the amount of time allocated for each side.”

III.   NOVEMBER 9 ORDER
       Finally, Appellants respectfully request that the Court vacate the separate

Clerk Order of November 9, 2023. That Order directs “the parties” to submit, “when

the opening brief is filed,” “a stipulated set of relevant facts and procedural history

upon which the Court may rely in deciding the appeal.”

       The Order rests on the stated premise that “the parties[]” have “represent[ed]

that this appeal presents a purely legal issue.” That premise is incorrect, as the


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parties’ filings with this Court in seeking direct appeal show. As a result, complying

with the Order would be onerous and inefficient and would likely yield, at best, a

document that would provide no meaningful assistance for the Court.

      A.     First, the joint petition to authorize a direct appeal (“Joint Petition”),

filed by LTL and the Ad Hoc Committee, did not represent that the appeal was one

of pure law. Joint Pet., In re LTL Mgmt. LLC, No. 23-8045 (3d Cir. Oct. 6, 2023),

Dkt. 1. The first and primary question the appellants have presented is whether the

bankruptcy court “reversibly err[ed]” in finding that LTL lacked sufficient financial

distress (and thus lacked good faith, and thus should have its case dismissed for

cause), broad language that encompasses both legal and factual error. Id. at 11. The

Joint Petition highlighted that the bankruptcy court’s assessment of competing

forecasts from the parties’ expert witnesses regarding LTL’s liabilities and resources

underlay its financial-distress holding. Id. at 9 (citing Mem. Op. at 20-25, In re LTL

Mgmt. LLC, No. 23-12825 (MBK) (Bankr. D.N.J. July 28, 2023), Dkt. 1127). And

fact-finding was to be expected given this Court’s decision in In re LTL

Management, LLC, 64 F.4th 84 (3d Cir. 2023), in which the Court described good

faith and financial distress as questions of “ultimate fact”—legal concepts “with a

factual component” dependent on “the totality of facts and circumstances.” Id. at 100

(citations omitted).




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      The Joint Petition’s treatment of this question contrasts sharply with its

treatment of the second question: whether the bankruptcy court after dismissing the

case had statutory authority to allow the Official Committee to continue to exist. The

Joint Petition presents this as a “pure legal question” that is not “‘heavily’ fact-

dependent” Joint Pet. 11 n.1 (quoting Weber v. United States, 484 F.3d 154, 158 (2d

Cir. 2007)). But the Joint Petition does not so characterize the primary question—of

financial distress, good faith, and cause.

      Second, the appellees’ Responses to the Joint Petition did not represent that

the dispute on appeal was one of pure law. And both responses, by the Official

Committee and Arnold & Itkin LLP, similarly highlighted the parties’ battle over

the facts of LTL’s present and future financial situation. See Official Comm. of Talc

Claimants’ Resp. 11-12, In re LTL Mgmt. LLC, No. 23-8045 (3d Cir. Oct. 16, 2023),

Dkt. 10; Arnold & Itkin LLP’s Resp. 5-6, In re LTL Mgmt. LLC, No. 23-8045 (3d

Cir. Oct. 16, 2023), Dkt. 11. The Responses did not even mention the second issue

regarding the Official Committee’s continued existence.

      Third, the grounds for direct appeal on which the Joint Petition and Responses

(as well as the bankruptcy court) agreed confirm that the appeal is not one of pure

law. All of the parties’ filings with this Court highlighted their unanimous

certification in the bankruptcy court under 28 U.S.C. § 158(d)(2)(A). See Joint Pet.

Exh. C (certification filed with bankruptcy court). Subsection 158(d)(2) provides

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that all appellants and appellees may certify that the appealed order meets one or

more of four bases for a direct appeal: (1) that it “involves a question of law as to

which there is no controlling decision,” (2) that it “involves a matter of public

importance,” (3) that it “involves a question of law requiring resolution of

conflicting decisions,” or (4) that “immediate appeal” may “materially advance the

progress of the case.”

      Here, the parties agreed that the appeal was publicly important and would be

materially advanced by immediate appeal but did not certify on the other two

statutory grounds. The bankruptcy court concurred in both respects. See Jt. Pet. 10

& Exh. D. In Appellants’ view, the bankruptcy court’s determination to dismiss

LTL’s case does indeed present important legal questions. See, e.g., Joint Pet. 16–

18; Debtor’s Statement of Issues on Appeal 2-3, No. 3:23-cv-10979 (D.N.J. Sept. 9,

2023), Dkt 2. But the parties have not represented that those legal questions can be

divorced from the disputed underlying facts.

      B.      Because the premise of the November 9 Order is incorrect, complying

with the Order would be onerous for the parties and unproductive for the Court. The

parties do not agree on the relevance and accuracy of the facts presented to, and

found by, the bankruptcy court. As a result, the parties would have considerable

difficulty agreeing on and presenting a “stipulated set of relevant facts.” To the

extent the parties were able to reach an agreement, the stipulated set of relevant facts

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likely would be too minimal to meaningfully streamline the factual discussions in

the principal briefs and thus would not meaningfully assist this Court in deciding the

appeal.

      The Official Committee takes no position on Appellants’ request with respect

to the Clerk Order of November 9, 2023, and defers to the Court’s discretion.

                                  CONCLUSION

      For the foregoing reasons, Appellants respectfully request that the Court enter

the proposed briefing schedule, decide the appeal on the briefs, and vacate the Clerk

Order of November 9, 2023. The Official Committee respectfully requests that the

Court enter the proposed briefing schedule and takes the positions outlined above as

to the other matters.




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Dated November 22, 2023               Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE

      I certify that this filing complies with Federal Rule of Appellate Procedure

27(d)(1) because it has been prepared in Times New Roman 14-point font using

Microsoft Word. I further certify that it complies with Federal Rule of Appellate

Procedure 27(d)(2) because it contains 1,270 words.



                                     /s/ C. Kevin Marshall
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                        CERTIFICATE OF SERVICE

      I certify that the foregoing was filed with the Clerk using the appellate

CM/ECF system on November 22, 2023, effecting service on all registered users.



                                       /s/ C. Kevin Marshall
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